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  Attorney for Plaintiff
  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  HB Productions, Inc.,                   )   Case No.: 1:19-cv-389-ACK-KJM
                                          )   (Copyright)
                     Plaintiff,           )
     vs.                                  )   PLAINTIFF’S NOTICE OF
                                          )   DISMISSAL OF DEFENDANT DOE
  JOHN DOE dba YTS et. al.                )   19 WITH PREJUDICE
                                          )
                     Defendants.          )
                                          )

                      PLAINTIFF’S NOTICE OF DISMISSAL OF
                      DEFENDANT DOE 19 WITH PREJUDICE

           Plaintiff provides notice of its voluntary dismissal under Rule 41(a) of

  Defendant Doe 19 (IP address 66.75.112.96 as shown in Exhibit 1 [Doc. #1-1]) with

  prejudice. This dismissal is pursuant to Rule 41(a)(1)(A)(i). Note that this action

  does not terminate the matter.

           DATED: Kailua-Kona, Hawaii, September 20, 2019.




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                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
                               Kerry S. Culpepper

                               Attorney for Plaintiff
                               HB Productions, Inc.




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